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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of New York

FRANCISCO HUERTERO,
on behalf of himself, FLSA Collective Plaintiffs
and the Class,

 

Plaintiff(s)

v. Civil Action No.

B.J. MASPETH RESTAURANT INC.
d/b/a PEGGY DEMPSEY'S, et al.

 

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

B.J. MASPETH RESTAURANT INC. d/b/a PEGGY DEMPSEY’S
3931 Bell Boulevard
Bayside, NY 11361

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

C.K. Lee, Esq.

Lee Litigation Group, PLLC
148 West 24th Street, 8th Floor
New York, NY 10014

Tel.: (212) 465-1188

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

DOUGLAS C. PALMER
CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
